






  








IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






WR-75,828-01





EX PARTE PAUL DAVID STOREY







ON APPLICATION FOR WRIT OF HABEAS CORPUS


IN CAUSE NO. C-3-009076-1042204-A IN
 CRIMINAL DISTRICT COURT THREE FROM HARRIS COUNTY




	Per Curiam. 

			

		ORDER



	This is an application for writ of habeas corpus filed pursuant to the provisions of
Article 11.071, Tex. Code Crim. Proc.

	In September 2008, applicant was convicted of the offense of capital murder.  The
jury answered the special issues submitted pursuant to Article 37.071, Tex. Code Crim.
Proc., and the trial court, accordingly, set punishment at death.  This Court affirmed
applicant's conviction and sentence on direct appeal. Storey v. State, No. AP-76,018 (Tex.
Crim. App. delivered October 6, 2010) (not designated for publication).

	Applicant presents eight allegations in his application in which he challenges the
validity of his conviction and resulting sentence.  The trial court did not hold an evidentiary
hearing.  The trial court adopted the State's proposed findings of fact and conclusions of law
recommending that the relief sought be denied. 

	This Court has reviewed the record with respect to the allegations made by applicant. 
We adopt the trial judge's findings and conclusions.  Based upon the trial court's findings
and conclusions and our own review, we deny relief. 

	IT IS SO ORDERED THIS THE 15th DAY OF JUNE, 2011.

									

Do Not Publish 


